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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
ROGER W., TITUS 6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE GREENBELT, MARYLAND 20770
301-344-0052
MEMORANDUM

TO: Counsel of Record

Clerk of the Court
FROM: Judge Roger W. Titus
RE: United States of America v. Lavon Dobie

Crimimal Case No. 04-235

DATE: May 19, 2008

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On April 24, 2008, the Court received correspondence from Defendant Lavon Dobie in
chambers. Defendant is reminded that all filings with the Court must be addressed to the Clerk of
the Court, at the Courthouse address, not to the undersigned. Additionally, all such filings must be
served on all parties to the case.

In order to prevent the need for additional correspondence on this occasion, the Clerk of the
Court is hereby DIRECTED to docket Defendant Dobie's letter as miscellaneous correspondence.
The Clerk shall MAIL a copy of this Order and Defendant Dobie’s letter to the Government, and
to her last known counsel, Mr. Alan Dubois, Esq., Office of the Federal Public Defender, 150
Fayetteville Street, Suite 450, Raleigh, North Carolina 27601.

Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the

Clerk is directed to docket it accordingly.

ROGER W. TITUS
UNITED STATES DISTRICT JUDGE

Ce: Lavon Dobie
